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                 4                                  UNITED STATES DISTRICT COURT
                 5                                          DISTRICT OF NEVADA
                 6                                                      ***
                 7       UNITED STATES OF AMERICA,                              Case No. 2:10-CR-365 JCM (PAL)
                 8                                              Plaintiff(s),                     ORDER
                 9              v.
               10        BRAD FUSSELL
               11                                            Defendant(s).
               12
               13              Presently before the court is pro se defendant Brad Fussell’s motion to reopen time for

               14       appeal under Federal Rule of Appellate Procedure (“Rule”) 4(a)(6). (Doc. # 216). The government
               15
                        has not filed a response.
               16
                        I.     Background
               17
                               On July 6, 2015, this court entered an order denying defendant Fussell’s motion to vacate,
               18
               19       set aside, or correct his sentence. (Doc. ## 195, 211). Defendant filed a notice of appeal on

               20       November 2, 2015, 119 days after this court entered its order. (Doc. # 216). Under Federal Rule
               21
                        of Appellate Procedure (“FRAP”) 4(a)(1)(B), defendant’s notice of appeal was due within 60 days
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                        of the court’s order. FED. R. APP. P. 4(a)(1)(B). Accordingly, defendant did not file a timely notice
               23
                        of appeal.
               24
               25              Defendant included with his notice of appeal, however, an additional notice indicating that,

               26       as of that date, he had not been served with a copy of the court’s July 6, 2015, order. (See doc. #
               27
                        215). Fussell states that, as of October 15, 2015, he had received no records from the court with
               28
                        respect to the July order. (Id.). Fussell acknowledges that on October 20, 2015, he received a copy
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                1       of the court’s docket in response to his October 15, 2015, request for records, but indicates that as
                2       of the filing of both notices, he had still not received a copy of the order itself. (Id.).
                3
                                On November 12, 2015, the United States Court of Appeals for the Ninth Circuit (“appeal
                4
                        court”) issued an order remanding the appeal to this court. The appeal court found that this court
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                6       should have collectively construed Mr. Fussell’s two notices as a single motion to reopen the time

                7       for appeal under Rule 4(a)(6). See United States v. Withers, 638 F.3d 1055, 1061 (9th Cir. 2011)
                8       (district court should construe notice of appeal as motion for relief under Rule 4(a)(6) when it
                9
                        includes allegations of non-receipt of the judgment). Accordingly, the appeal court remanded the
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                        appeal to this court “for the limited purpose of allowing [the] court to rule on appellant’s November
              11
              12        2, 2015, motion to reopen time for appeal.”

              13        II.     Legal Standard
              14                Under FRAP 4(a)(6), a district court may reopen the time for filing an appeal for a period
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                        of 14 days if (a) the court finds that the moving party did not receive notice of the entry under
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                        Federal Rule of Civil Procedure (“FRCP”) 77(d) within 21 days of entry; (b) the motion is filed
              17
              18        within 180 days of the entry or within 14 days after the moving party does receive 77(d) notice,

              19        whichever is earlier; and (c) the court finds that no party would be prejudiced. FED. R. APP. P.
              20        4(a)(6).
              21
                                The rule gives a district judge discretion in deciding the motion, but that discretion is
              22
                        limited. See Withers at 106162. Where the moving party’s assertion that it did not receive notice
              23
              24        is unchallenged, and the other FRAP 4(a)(6) conditions are satisfied, denial of the motion is an

              25        abuse of the district court’s discretion. See id. (citing Nunley v. City of Los Angeles, 52 F.3d 792,
              26
                        797 (9th Cir. 1995)).
              27
                        ...
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                1       III.   Discussion
                2              The court finds that Mr. Fussell’s assertion is unchallenged. The government has not filed
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                        any papers in opposition to Mr. Fussell’s motion. Moreover, shortly before the court entered the
                4
                        order in question, Mr. Fussell filed a notice of lack of service. (Doc. # 207). In response to that
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                6       notice, on May 21, 2015, the government indicated that it may have made an inadvertent clerical

                7       error with respect to delivery of documents to Mr. Fussell, who is currently incarcerated. (Doc. #
                8       208). Government’s counsel represented that she would mail copies of all relevant documents, at
                9
                        that point in time, to defendant. (Id.). Nevertheless, defendant claims he is still suffering from lack
              10
                        of delivery.
              11
              12               Reviewing the court’s electronic filing docket, the court finds that the clerk of the court has

              13        recorded an incorrect address for defendant Fussell. While defendant’s correspondence indicates
              14        an address of “FPC Florence - P.O. Box 5000,” the court’s electronic filing system lists an address
              15
                        of “FPC Florence - P.O. Box 6000” for defendant Fussell. Both addresses state the correct ZIP
              16
                        code of 81226 in Florence, CO.
              17
              18               Given the history of non-delivery of documents to this defendant and the discrepancy

              19        between the defendant’s actual address and that recorded in the court’ electronic filing system, the
              20        court finds that Mr. Fussell did not receive notice under FRCP 77(d) until October 20, 2015. See
              21
                        FED. R. APP. P. 4(a)(6)(A). Next, defendant’s notices of appeal and lack of delivery were filed on
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                        November 2, 2015, within 14 days of defendant’s FRCP 77(d) notice. See FED. R. APP. P.
              23
              24        4(a)(6)(B). Finally, the court finds that the parties in the case are not prejudiced. See FED. R. APP.

              25        P. 4(a)(6)(C).
              26               Therefore, the defendant has demonstrated that the conditions set forth in FRAP
              27
                        4(a)(6)(A)(C) have been satisfied. Because defendant’s assertion that he did not receive notice is
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                1       unchallenged, and the other conditions of FRAP 4(a)(6) have been satisfied, the court must grant
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                        defendant’s motion. See Withers at 106162.
                3
                        IV.    Conclusion
                4
                               Accordingly,
                5
                6              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that defendant Brad Fussell’s

                7       motion to reopen time for appeal (doc. # 216) be, and the same hereby is, GRANTED.
                8
                               IT IS FURTHER ORDERED that defendant Brad Fussell shall have 14 days from the date
                9
                        of this order to file a notice of appeal from this court’s July 6, 2015, order. (Doc. # 211).
              10
                               IT IS FURTHER ORDERED that the clerk of the court shall modify defendant Brad
              11
              12        Fussell’s mailing address in the court’s electronic filing system to the following:

              13               Brad Fussell
                               Reg. # 45184-048
              14
                               FPC Florence
              15               P.O. Box 5000
                               Florence, CO 81226
              16
              17               IT IS FURTHER ORDERED that the clerk of the court shall mail copies of this order and
              18        the court’s July 6, 2015, order (doc. # 211) to defendant Brad Fussell at the above address.
              19               IT IS FURTHER ORDERED that the clerk of the court shall serve a copy of this order on
              20        the United States Court of Appeals for the Ninth Circuit, in case number 15-17195.
              21               DATED November 19, 2015.
              22
              23                                                       __________________________________________
                                                                       UNITED STATES DISTRICT JUDGE
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